Case: 1:12-cv-04428 Document #: 632-3 Filed: 06/21/18 Page 1 of 6 PageID #:34395



 	
 	

 	
 	
 	
 	

 	
 	
 	




           EXHIBIT	C	
 Case: 1:12-cv-04428 Document #: 632-3 Filed: 06/21/18 Page 2 of 6 PageID #:34396



                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JACQUES RIVERA,                              )
                                             )
               Plaintiff,                    )
                                             )
       v.                                    )      No. 12 cv 004428
                                             )
REYNALDO GUEVARA, et al.,                    )      The Honorable Joan B. Gottschall
                                             )
               Defendants.                   )      Jury Trial Demanded

                      INDIVIDUAL OFFICER DEFENDANTS’
                  SECOND SUPPLEMENTAL RULE 26 DISCLOSURES

       Individual Officer Defendants Reynaldo Guevara, Stephen Gawrys, Daniel Noon,

John Guzman, Joseph Fallon, Joseph Sparks, Paul Zacharias, Gillian McLaughlin, John Leonard,

Edward Mingey, Russell Weingart and Rocco Rinaldi, by their attorneys, James G. Sotos, Jeffrey

N. Given, Elizabeth A. Ekl, Caroline P. Golden, and Andrew J. Grill of The Sotos Law Firm,

P.C., submit the following supplemental disclosures pursuant to Federal Rules of Civil Procedure

26(a)(1)(A) and 26(e) and state:

                                   RULE 26(a)(1) DISCLOSURE

       The Individual Officer Defendants’ disclosures are based on information and documents

currently available to their counsel. The Individual Defendants reserve the right to supplement or

amend their disclosures at any time.

       A.      WITNESSES. The following individuals are likely to have discoverable

information Defendants may use to support their defenses:

       Patrick Walsh 630-794-0300. Mr. Walsh may have information to rebut the allegations
       of 404(b) witness David Velasquez. Investigation continues.
Case: 1:12-cv-04428 Document #: 632-3 Filed: 06/21/18 Page 3 of 6 PageID #:34397



     Jason Rivera No Contact information at this time. Mr. Rivera may have information to
     rebut the allegations of 404(b) witness David Velasquez. Investigation continues.

     Det. Ernest Halvorsen Det. Halvorsen may have information to rebut the allegations of
     404(b) witness David Velasquez. Investigation continues.

     Ivar Velasco 3120 N. Central Park, Chicago, IL. 773-425-0965. Mr. Velasco may have
     information to rebut the allegations of 404(b) witness Edwin Davila. Investigation
     continues.

     Michael Ybarra 5051 W. Argyle St., Apt. #1, Chicago, IL. 773-293-6162. Mr. Ybarra
     may have information to rebut the allegations of 404(b) witness Edwin Davila.
     Investigation continues.

     Det. William Johnston Mr. Johnston may have information to rebut the allegations of
     404(b) witness Edwin Davila. Investigation continues.

     Alberto Rodriguez FCI Forrest City Fed. Penitentiary, 1400 Dale Bumpers Rd., Forrest
     City, AR. 72335. 719-784-9464. Mr. Rodriguez may have information to rebut the
     allegations of 404(b) witness Jose Melendez. Investigation continues.

     William Farrell 312-269-8000. Mr. Farrell may have information to rebut the
     allegations of 404(b) witness Jose Melendez. Investigation continues.

     Det. John McMurray Mr. McMurray may have information to rebut the allegations of
     404(b) witness Jose Melendez. Investigation continues.

     Christopher Wright 360-876-6401. Mr. Wright may have information to rebut the
     allegations of 404(b) witness Julio Sanchez. Investigation continues.

     Dr. Peter Hull No contact information at this time. Dr. Hull may have information to
     rebut the allegations of 404(b) witness Julio Sanchez. Investigation continues.

     Ofc. James Henk Ofc. Henk may have information to rebut the allegations of 404(b)
     witness Julio Sanchez. Investigation continues.

     Ofc. George Figueroa Ofc. Figueroa may have information to rebut the allegations of
     404(b) witness Julio Sanchez. Investigation continues.

     Efrain Sanchez 1714 W. Touhy Ave., Chicago, IL. 312-661-6953 or 773-521-3000. Mr.
     Sanchez may have information to rebut the allegations of 404(b) witness Julio Sanchez.
     Investigation continues.

     Det. A. Riccio, #2620 Det. Riccio may have information to rebut the allegations of
     404(b) witness Juilo Sanchez. Investigation continues.
 Case: 1:12-cv-04428 Document #: 632-3 Filed: 06/21/18 Page 4 of 6 PageID #:34398



       Jose Reyes 10310 Zachary Cir. 51, Riverview, FL. 33578. 813-252-6967. Mr. Reyes
       may have information to rebut the allegations of 404(b) witness Robert Ruiz.
       Investigation continues.

       Sean Gallagher 708-655-1374. Mr. Gallagher may have information to rebut the
       allegations of 404(b) witness Robert Ruiz. Investigation continues.

       Chiao Lee 16005 NE 203 Pl., Woodinville, WA. 425-286-6763. Ms. Lee may have
       information to rebut the allegations of 404(b) witness Robert Ruiz. Investigation
       continues.

       Juan Michel Delgado 10301 Delmar Cir., Tampa, FL. 813-495-2723. Mr. Delgado may
       have information to rebut the allegations of 404(b) witness Salvador Ortiz. Investigation
       continues.

       Guillermo Vasquez 3947 W. Division, Apt. #1, Chicago, IL. 773-381-0540 or 773-725-
       9529. Mr. Vasquez may have information to rebut the allegations of 404(b) witness
       Salvador Ortiz. Investigation continues.

       Edwin Gomez 4619 W. Schubert, Chicago, IL. 773-227-6891. Mr. Gomez may have
       information to rebut the allegations of 404(b) witness Salvador Ortiz. Investigation
       continues.

       Det. William O’Donnell Det. O’Donnell may have information to rebut the allegations
       of 404(b) witness Salvador Ortiz. Investigation continues.

       James Bailey 312-603-6932. Mr. Bailey may have information to rebut the allegations
       of 404(b) witness Salvador Ortiz. Investigation continues.

       Maria Rodriguez 3317 N. Keeler, Apt. #2, Chicago, IL. 773-800-7377. Ms. Rodriguez
       may have information to rebut the allegations of 404(b) witness Wilfredo Rosario.
       Investigation continues.

       Eileen Rubin 312-259-5079. Ms. Rubin may have information to rebut the allegations of
       404(b) witness Salvador Ortiz. Investigation continues.

The investigation of witnesses the Individual Defendants may use to support their defenses in
this matter continues.

Dated: April 1, 2014                        Respectfully Submitted,


                                            Andrew J. Grill
                                            One of the Attorneys for the Individual Officer
                                            Defendants
 Case: 1:12-cv-04428 Document #: 632-3 Filed: 06/21/18 Page 5 of 6 PageID #:34399



                               CERTIFICATE OF SERVICE

        Under penalties as provided by law, pursuant to 28 U.S.C.A. § 1746, Andrew J. Grill,
states that a true and correct copy of Individual Officer Defendants Second Supplemental
Rule 26 Disclosure was served upon the below listed attorneys, on April 1, 2014, via electronic
mail to the attached service list.
Case: 1:12-cv-04428 Document #: 632-3 Filed: 06/21/18 Page 6 of 6 PageID #:34400
                                    SERVICE LIST
                                 Rivera v. Guevara, et al.
                                  Case No.:12 cv 04428

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